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               Exhibit A
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10 Email: tlaughlin@scott-scott.com
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11
            Counselfor Plaintiff
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                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                                              COUNTY OF SAN MATEO
15
            AVNER GREENWALD, Individually and on                Case No.
                                                                                            18       C    W 03            4.6 1.
16          Behalf of All Others Similarly Situated,
                                                                CLASS ACTION COMPLAINT FOR
17                                            Plaintiff,        VIOLATIONS OF THE SECURITIES ACT
                   V.                                       ‘
                                                                OF 1933
18
   RIPPLE LABS, INC., a Delaware Corporation,                   JURY TRIAL DEMANDED
19 XRP II, LLC, a South Carolina Limited Liability
   Company, BRADLEY GARLINGHOUSE,
20 CHRISTIAN LARSEN, RON WILL,
   ANTOINETTE O’GORMAN, ERIC VAN
21 MILTENBURG, SUSAN ATHEY, ZOE
   CRUZ, KEN KURSON, BEN LAWSKY,
22 ANJA MANUEL, and TAKASI-II OKITA,
                                                                                   ‘
                                                                                       18—clV—ua451
23                                            Defendants.                      .       CMP
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                      Plaintiff Avner Greenwald (“Plaintiff”), individually and on behalf of all others similarly
               situated, by Plaintiffs undersigned attorneys, alleges the following based upon personal knowledge as to

               Plaintiff’s own acts, and upon information and belief as to all other matters based on the investigation

               conducted by and through Plaintiffs attorneys, which included, among other things, a review                        of

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               Securities and Exchange Commission (“SEC”) ﬁlings and commentary, publicly available reports and

               information, analyst and media reports, and other commentary analysis. Plaintiff’s investigation into the

               matters alleged herein is continuing and many relevant facts are known only to, or are exclusively within

 8             the custody and control of, the Defendants.         Plaintiff believes that substantial additional evidentiary
               support will exist for the allegations set forth herein after a reasonable opportunity for formal discovery.

10                                             NATURE AND SUMMARY OF ACTION

11                     1.      Plaintiff brings this securities   class action under §§5,   l2(a)(l),   and 15    of the   Securities

12             Act of 1933 (the “Securities Act”) against (1) Ripple Labs, Inc. (“Ripple Labs” or the “Company”);

13             (2) Ripple Labs’ wholly owned subsidiary, XRP II, LLP (“XRP              II”);   and (3) certain   of Ripple Labs’
14             controlling senior executives and directors (collectively, the “Individual Defendants”). Plaintiff alleges

15             that Defendants sold unregistered securities to investors in violation       of the   Securities Act. Defendants

16             are liable in their capacities as issuers, statutory sellers, and/or direct or indirect offerors   of XRP.
17                     2.      Plaintiff brings this action on behalf of all investors who purchased Ripple tokens
18             (“XRP” or “Ripples”) on or after July 3, 2015 and were damaged thereby.

19                     3.      XRP qualify     as securities   under Section 2(a)(1)      of    the Securities Act, 15 U.S.C.

20             §77b(a)(1).   The purchase     of XRP constitutes     an investment contract as XRP purchasers, including

21             Plaintiff, provided consideration (in the form of ﬂat, i.e.,       US    dollars or other cryptocurrencies) in

22             exchange for XRP. XRP is in investment in a common enterprise and purchasers reasonably expected to

23             derive proﬁts from their ownership       of XRP. Defendants promoted this proﬁt motive               as a reason to

24 purchase XRP.

25                     4.      No registration statements have been ﬁled with the SEC or have been in effect with

26             respect to the XRP offerings alleged herein.

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                          5.       All     100   billion XRP in existence were created out of thin air by Ripple   Labs.1   Twenty

                 billion XRP, or 20% of all XRP in existence, were given to the individual founders of Ripple Labs,
                 including Defendant Chris Larsen, and the remaining 80 billion were retained by Ripple Labs.

                          6.       Defendants have since earned massive proﬁts by selling the retained XRP to the public,

                 without complying with federal securities laws, in what is essentially an ongoing initial coin offering

                 (“ICO”). Like an initial public offering (“IPO”), in an ICO, digital              assets are sold to consumers   in
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                 exchange for legal tender or other cryptocurrencies (most often Bitcoin and Ethereurn).

                          7.       Defendants sell XRP from the retained supply and use the proceeds from the sales to fund

                 Company operations.

1o                        8.       In order to increase demand for XRP, and thereby increase the proﬁts derived by selling

11               XRP, Defendants portray XRP as a good investment, solicit sales, express optimistic price predictions,

12               and conﬂate Ripple Labs’ enterprise customer programs with usage and value                 of XRP. Ripple Labs
13               greatly increased these efforts to push XRP on the general public in recent years.

14                        9.       These solicitation efforts were conducted by interstate means, as were the sales     of XRP.
15                                                          JURISDICTION AND VENUE
16                        10.      The Court has subject matter jurisdiction over this action pursuant to the California

17               Constitution, Article VI, §10 and Section 22         of the   Securities Act, 15 U.S.C. §77v. The claims alleged

18               herein arise under §§5, l2(a)(l), and 15           of the   Securities Act.   See 15 U.S.C. §§77e, 771, and 770.

19               Section 22     of the   Securities Act, 15 U.S.C. §77v(a), expressly states that “[e]xcept as provided in section

2o               77p(c)   of this title,   no case arising under this subchapter and brought in any State court      of competent
21               jurisdiction shall be removed to any court of the United States.” Section 77p(c) refers to “covered class

22               action[s] brought in any State court involving a covered security, as set forth in subsection (b),” and

23               subsection (b)     of   §77p in turn includes Within its scope only covered class actions “based upon the

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           This is unlike other cryptocurrencies like Bitcoin and Ethereum that are “mined” by those
27 validating transactions on their networks.

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                    statutory or common law     of any   State or subdivision thereof.” See 15 U.S.C. §77p. This is an action

                    asserting only federal law claims. Thus, this action is not removable to federal court.

                           11.     Venue is proper in this jurisdiction pursuant to the provisions             of California   Code   of
                    Civil Procedure §395 (a) because certain Defendants reside in San Mateo County.
                           12.     This Court has personal jurisdiction over Defendants        as a   result   of acts of Defendants
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                    occurring in and/or aimed at the state of California in connection with Defendants’ unregistered

                    offer and sale of securities in violation of §§5, 12(a)(1), and   15   of the Securities Act.
                            13.    This Court also has personal jurisdiction over Defendants because they reside in or

                    have their principal places   of business in California.
10                                                                    PARTIES

11                          14.    Lead Plaintiff Avner Greenwald is an individual and a resident of Israel. Plaintiff

12                  bought and sold XRP in both USD and Bitcoin between December 14, 2017 and May 12, 2018, and

13                  suffered losses on those investments as a result    of the scheme alleged herein.
14                          15.    Defendant Ripple Labs, Inc. is a Delaware corporation with its principal place of

15                  business at 300 Montgomery Street, 12th Floor, San Francisco, California. Ripple Labs operates

16                  RippleNet, a global payments network based on blockchain technology. Through RippleNet, banks

17                  and payment providers can use XRP to process, clear, and settle ﬁnancial transactions in real—time

18                  worldwide. Ripple Labs created XRP and, at all relevant times, solicited purchases of XRP by

19                  Plaintiff and the Class for its own beneﬁt and the beneﬁt of its executives and owners.
2o                          16.    Defendant XRP II, LLC is wholly owned subsidiary              of Ripple       Labs. XRP      II   is a

21                  South Carolina limited      liability company with its principal place of business in San Francisco,
22                  California. XRP    II   sold XRP and solicited the purchases of XRP by Plaintiff and the Class for its

23                  own beneﬁt and the beneﬁt of its parent, Ripple Labs, and its executives and owners.

24                          17.    Defendant Bradley Garlinghouse (“Garlinghouse”) is, the Chief Executive Ofﬁcer

25                  (“CEO”) of Ripple Labs and has been since January 2017.                   Garlinghouse was Ripple Labs’

26                  President and Chief Operating Ofﬁcer from April 2015 through December 2016. Garlinghouse is a

27                  California citizen and    a resident   of San Mateo County. Garlinghouse exercised control over Ripple
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        Labs and directed and/or authorized, directly or indirectly, the sale and/or solicitation      of XRP to the
N       public.

                  18.   Defendant Christian (Chris) Larsen (“Larsen”) is Executive Chairman of Ripple

        Labs’ Board     of Directors   and has been since January 2017. Larsen is also a co—founder        of Ripple

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        Labs and a former CEO          of Ripple Labs (through December 2016). Larsen exercised control over
        Ripple Labs and directed and/or authorized, directly or indirectly, the sale and/or solicitation of
                               .




        XRP to the public.

                  19.   Defendant Ron      Will (“Will”)   is Chief Financial Ofﬁcer   of Ripple   Labs and has been

        since November 2017.         Will exercised control over Ripple Labs     and directed and/or authorized,

1o      directly or indirectly, the sale and/or solicitation of XRP to the public.

11                20.    Defendant Antoinette O’Gorman (“O’Gorman”) is Chief Compliance Ofﬁcer of

12      Ripple Labs.      O’Gorman exercised control over Ripple Labs and directed and/or authorized,

13      directly or indirectly, the sale and/or solicitation of XRP to the public.

14                21.    Defendant Eric van Miltenburg (“van Miltenburg”) is Senior Vice President for

15      Business Operations        of Ripple   Labs.   Van Miltenburg exercised control over Ripple Labs and

16      directed and/or authorized, directly or indirectly, the sale and/or solicitation   of XRP to the public.
17                22.    Defendant Susan Athey (“Athey”) is a Director of Ripple Labs. As a Director, Athey

18      exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the sale

19      and/or solicitation   of XRP to the public.
2o                23.    Defendant Zoe Cruz (“Cruz”) is a Director of Ripple Labs.            As a Director, Cruz

21      exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the sale

22      and/or solicitation   of XRP to the public.
23                24.    Defendant Ken Kurson (“Kurson”) is a Director of Ripple Labs.                As a Director,

24 Kurson exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

25      the sale and/or solicitation    of XRP to   the public.

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                     25.      Defendant Ben Lawsky (“Lawsky”) is a Director             of Ripple   Labs.   As a Director,

              Lawsky exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

#WN           the sale and/or solicitation   of XRP to the public.
                     26.      Defendant Anja Manuel (“Manuel”) is a Director            of Ripple   Labs. As a Director,

              Manuel exercised control over Ripple Labs and directed and/or authorized, directly or indirectly,

              the sale and/or solicitation   of XRP to the public.
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                     27.      Defendant Takashi Okita (“Okita”) is a Director          of Ripple    Labs.   As a Director,

              Okita exercised control over Ripple Labs and directed and/or authorized, directly or indirectly, the

              sale and/or   solicitation of XRP to the public.

10                   28.      The defendants referred to in W17-27 are referred to as the “Individual Defendants.”

11                                                SUBSTANTIVE ALLEGATIONS

12                   A.       The Background of XRP

13                   29.      Unlike cryptocurrencies such       as   Bitcoin and Ethereum, which are mined by those

14            validating transactions on their networks, all 100 billion XRP in existence were created out of thin

15            air by Ripple Labs in 2013. Twenty billion XRP, or 20% of the total XRP supply, were given to

16            the individual founders   of Ripple Labs,2 with the remaining     80   billion retained by Ripple Labs.
17                   30.      As for 80 billion XRP held by Ripple Labs, the plan was to sell them and use the

18            proceeds to fund and improve Company operations, including the XRP ledger network.

19                   31.      Ripple Labs’ own wiki notes that “Ripple Labs sells XRP to fund its operations and

20            promote the network. This allows Ripple Labs to have a spectacularly skilled team to develop and

21            promote the Ripple protocol and network.”3

22                   32.       In the ﬁrst quarter of 2018, “market participants purchased $16.6 million [of XRP]
23            directly from XRP II, LLC,” XRP        II also “sold $151.1 million worth of XRP” on exchange.4
24

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                     Defendant Chris Larsen received 9.5 billion XRP.
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                     Ripple credits, https://wiki.ripple.com/Ripple_credits#XRP ﬁnds                the   development   and
27            promotion of the protocol and the network (last visited June 29, 2018).     .




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                        33.     Ripple Labs’ primary business involves the operation of an open ledger protocol,

                 payment, and exchange network. The native cryptocurrency for Ripple Labs’ exchange network is

                 XRP.   Thus, XRP is both an investment in the Company (as sales are used to ﬁmd Company

                 operations with the expectation that such investments in the Company          will   increase the value   of
                 XRP) and an investment in itself (with the expectation that the value     of XRP will increase),   as   well

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                 as a means   of exchange promoted by Ripple Labs.
                        34.     Ripple Labs’ exchange network is based around the XRP Ledger. The XRP Ledger

                 consists   of many   servers, called nodes, which accept and process transactions. Client applications

                 sign and send transactions to nodes, which then relay these candidate transactions throughout the

10               network for processing. Transactions are then veriﬁed and become part of the XRP Ledger through

11               a consensus process.      Every XRP transaction must be made through Ripple Labs’ XRP Ledger,

12               which is maintained by Defendants. In order to open an account on the XRP Ledger, users must

13               maintain a minimum account balance        of 20 XRP. In addition,   each time a transaction is made in

14               XRP, there is a transaction cost to users.

15                      35.     Ripple Labs’ founders and other Company insiders have also proﬁted individually

16               from their XRP holdings. In January 2018, Ripple co—founder Defendant Larsen was named one of

17               the richest people in the United States, with an estimated net worth     of $59.9 billion, primarily    due

18               to the increase in value in XRP and his personal ownership       of billions of XRP    and his signiﬁcant

19               stake in the Company.5

2o                      36.     Defendants have control over how many XRP are in the market.

21                      37.     No registration statement has been ﬁled for XRP with the SEC and no registration

22               statement is in effect for XRP.

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                 4
25                       Q1 2018 XRP Markets Report, https://ripple.com/insights/q1—2018—xrp—markets—report/ (last
                 visited June 29, 2018).
26               5
                       https ://www. cnbc. com/2O l 8/0 1/04/ripple—co-founder—is—now—richer-than-the- goo gle-founders—
27               on-paper.html (last visited on June 29, 2018).

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                  B. Defendants Solicit XRP Sales

           38.       From 2013 to the present, Defendants and their afﬁliates have been engaged in an

     ongoing scheme to sell XRP to the general public.

           39.       Ripple Labs dedicates an entire section of its website to providing advice on “How to

     Buy XRP.” This section provides links to online exchanges and instructions on “[h]ow to buy
     XRP” on those exchanges.6 It also has a section titled “Market Performance” which proclaims that

     Ripple Labs is “committed to the long term health and stability of XRP markets.”7

           40.       Ripple Labs also consistently promotes the availability of XRP on exchanges. For

     example, on May 18, 2017, its Senior Vice-President for Business Development, Patrick Grifﬁn,

10   tweeted a link to the Kraken exchange with the caption: “Kraken Introduces New Fiat Pairs for

11   XRP Trading! USD, JPY, CAD, EUR @ Ripple.”8

12          41.      Similarly, on or about December 21, 2017, Ripple Labs tweeted in Japanese that
13   XRP was now available on over 50 exchanges.9 That tweet linked to an article on Ripple Labs’

14   website which described XRP as “the fastest and most scalable [digital] asset on the market.”10            It
15   continued, “[t]he market is taking notice     of XRP’s   speed,   reliability and scalability   —   which has

16   strengthened the demand for XRP and where it’s listed. In fact, we’re proud to announce that XRP

17   has gone from being listed on six exchanges earlier this year to more than 50           worldwide.” The

18   article also links to a number   of online   exchanges where XRP can be purchased, and states that

19   “XRP’s long—term value is determined by its utility         —     including its ability to help ﬁnancial

2o institutions source   liquidity for payments into and out of emerging markets.”
21
     6
22          XRP Buying Guide, https://ripple.com/xm/buy—xrp/ (last visited on June 29, 2018).
     7
23          Market Performance, https:l/ripple.com/xrp/market—performance/ (last visited on June 29, 2018)
     8
24         @patgrifﬁn9, https://twitter.com/patgrifﬁn9/status/865251321867231233 (last visited on June
     29,2018).
25   9
            @Ripple, https://twitter.com/Ripple/status/943999526783905792 (last visited on June 29, 2018).
26   10
            XRP Now Available on 50 Exchanges Worldwide, https://ripple.com/insights/xrp—now—
27   available-on—SO—exchanges—worldwide/ (last visited on June 29, 2018).

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            42.      Ripple Labs also hosts conferences to generate interest in XRP.           For example,

     between October 16 and October 18, 2017,           it   hosted a conference named “Swell” in Toronto.

     Ripple Labs acknowledged that “[a]nticipation around the event spurred a meaningful spike in

     XRP, pushing    it up   100 percent[.]”11

            43.      On the same day, CoinDesk, a subsidiary of Digital Currency Group, which has an

     ownership interest in Ripple Labs, published an article titled “Ripple Price Passes Historic $1

     Milestone.”12    This was just one     of many   instances in which Ripple Labs would promote price

     movements     of XRP.
            44.      Ripple Labs’ promotion of XRP’s price reached new highs in December 2017. In

10   one instance, Ripple’s XRP product manager retweeted a tweet exclaiming:        “Wow, XRP at all-time

11   high! Forget about bitcoin, we’re all in on XRP!” (Emphasis added.)13

12          45.      Around that same time, on or about December 7, 2017, Ripple Labs announced that

13   it had placed “55 billion XRP in      a cryptographically—secured escrow account to create certainty   of
14   XRP supply at any given time”:4 It had been previously announced in May 2017 that this would

15   happen along with a limited distribution schedule. This was done to        limit the available supply of
16   XRP and drive price appreciation, which allowed Defendants to maximize proﬁts from XRP sales.

17   The December 7, 2017 announcement stated:

18                By securing the lion’s share of XRP in escrow, people can now mathematically verify
                  the maximum supply that can enter the market. While Ripple has proved to be a
19                responsible steward of XRP supply for almost ﬁve years — and has clearly
                  demonstrated a tremendous track record of investing in and supporting the XRP
2O

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     11
22           14Q3 2017 XRP Markets Report, https://ripple.com/xrp/q3~2017-xrp—markets-report/ (last
     visited on June 29, 2018).
23   12
            Ripple Price Passes Historic $1 Milestone, https://www.coindesk.com/ripple-price—passes-
24 historic—l-milestone/ (last visited on June 29, 2018).
     13
25           @Warpaul, https://twitter.com/yoshitaka_kitao/status/940785785925709829 (last visited on June
     29, 201 8).
26   14
          https://ripple.com/insights/ripple—escrows-55-billion—xrp-for—supply—predictability (last visited on
27 June 29, 2018).

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                                 ecosystem    —   this lockup eliminates any concern that Ripple could ﬂood the market,
                                                                                                                5
                                 which we’ve pointed out before 1s     a scenario that would be bad for Ripple!

                         46.        The article contained a button to allow readers to share         it   on Twitter with the caption

                 “Game changer for $XRP! 55 billion XRP now in escrow.”16 Ripple also promoted this article through

                 its own tweet, which proclaimed:            “55B $XRP is now in escrow. Interested in what this means for

                 $XRP markets?”l7 Garlinghouse was even more enthusiastic, tweeting: “Boom! 55 B $XRP now in

                 escrow.     Good for supply predictability and trusted, healthy $XRP markets.                Glad to ﬁnally let this
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                 #cryptokitty out of the bag!”18

                           47.      Ripple’s public commitment to limit the supply of XRP had its intended effect. In the

                 weeks that followed, the price           of XRP rapidly increased, from approximately $0.22 per token on
10
                 December 7, 2017 to $3.38 per token on January 7, 2018.19
11
                           48.      Ripple Labs’ CEO, Brad Garlinghouse, has also been a vocal advocate for investing
12
                 in XRP. In       a December 14, 2017       interview with Canada’s Business News Network (“BNN”), when
13
                 asked   if he     is personally invested in XRP, the CEO stated             “I’m long XRO, I’m very, very long
14
                 XRP   as a      percentage   of my personal balance sheet.” He continued, stating that he is “not long some
15
                 of the other [digital]       assets, because    it   is not clear to me what’s the real   utility, what problem      are
16
                 they really solving.” And ended by reiterating                “if you’re   solving a real problem,   if it’s   a scaled
17
                 problem, then       I think you have      a huge     opportunity to continue to grow that. We have been really
18
                 fortunate obviously,         I remain very, veiy, very long XRP, there is an expression in the industry
19
                 HODL, instead of hold, its HODL             . . .   I’m on the HODL side” (emphasis       added).
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23                         Id.
                 16
24                         Id.
                 17
25                         https://twitter.com/Ripple/status/93 89339679563 89889.
                 18
26                         https://twitter.coni/bgarlinghouse/stattis/93 8933791 145336832?lang=en.
                 19
27                      XRP would subsequently lose nearly all its value in just over three months, falling to                  a   low of
                 approximately $0.48 per token on April 6, 2018.
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                       49.      Later that same day, Garlinghouse tweeted: “Bloomberg welcomes $XRP to

               @theterrninal and gets       it right — #2 market cap behind $BTC   at ~$80BB!”20

                       50.      About   a   week later, on or about December 22, 2017, Garlinghouse tweeted an article

               titled “Bitcoin Is So 2017      as   Ripple Soars at Year End,” with the caption   “I’ll let the headline speak
               for itself. $xrp.”21
                        51.     On or about January 17, 2018, Garlinghouse tweeted a CNBC article titled “Ripple is
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               sitting on close to $80 billion and could cash out hundreds of millions per month—but                it isn’t,” with
               the caption    “A good read on why fostering a healthy $XRP ecosystem is a top priority at @Ripple.”
                        52.     However, the reality was that Ripple Labs was doing exactly that                —    cashing out.

10             Defendants sold at least $167.7 million worth           of XRP between January       1, 2018 and        March 31,

ll             2018.

12                      53.     Given its reliance on sales of XRP to fund its operations,            it   is unsurprising that

13             Ripple Labs’ aggressively markets XRP to drive demand, increase the price                         of XRP,       and

14             consequently, its own proﬁts.

15                      54.     Defendants’ advertising and social media postings also conﬂate adoption and use of

16             Ripple Labs’ xCurrent and XVia enterprise solutions with adoption and use               of XRP,       even though

17             they often have little to no correlation and do not involve the XRP Ledger. Defendants do this to

18             drive demand for XRP and thereby maximize profits from XRP sales.

19                      55.     According to its site, “xCurrent is Ripple’s enterprise software solution that enables

20             banks to instantly settle cross—border payments with end-to-end tracking. Using xCurrent, banks

21             message each other in real-time to conﬁrm payment details prior to initiating the transaction and to

22             conﬁnn delivery once it settles. ”22

23
               20
          @bgarlinghouse, https://twitter.com/bgarlinghouse/status/94l375649549246464 (last visited on
24 June 29, 2018).
               21
25                      @bgarlinghouse, https://twitter.com/bgarlinghouse/status/944325730338357248 (last Visited on
               June 29, 2018).
26
               22
                      Process Payments, xCurrent, https://ripplc.com/solutions/process-payments/ (last Visited on June
27             29, 2018).

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               56.     xCurrent doesn’t operate on the same technology     as   XRP or even require the use of

     XRP. In short, there is no reason to believe that adoption       of xCurrent would correlate in    any way

     with adoption of XRP.
               57.     Nor does use of Ripple Labs’ xVia product require adoption of XRP. Ripple Labs
     states that its   xVia product is “for corporates, payment providers and banks who want to send
                                                                  3,23
     payments across various netwOrks using a standard interface.

               58.     Ripple Labs nevertheless conﬂates the adoption of xCurrent and xVia with the

     adoption    of XRP.
               59.     Another of Ripple Labs’ enterprise solutions, xRapid, which does use XRP, is also

10   used to drive XRP sales (xRapid, along        with xCurrent and xVia, are together referred to herein        as

11   “Ripple Labs’ Enterprise Solutions”).

12             60.     Indeed, Ripple Labs regularly promotes its improvements to the XRP ecosystem,

13   which are intended to increase demand for XRP and thus potential returns for XRP investors. For

14   example, in describing the reasons behind the dramatic price appreciation of XRP during the fourth

15   quarter   of 2017, Ripple speciﬁcally cited as of “particular importance,” the Company’s various business
16   initiatives, including: (i) Ripple’s partnership with American Express/Santander; (ii) Ripple’s activation

17   of the previously discussed escrow of XRP to limit periodic offers and distributions;          and   (iii)    a

18   Japanese/Korean banking consortium backed by the Company.24 In the report, Ripple stated that its

19   “consistent and steadfast support    of XRP   is a major advantage as the payments industry continues to

2o   seriously consider it as an alternative liquidity solution.”25

21             61.     A November   2015 white paper by the Company highlighted “XRP’s Role on Ripple

22   and the Internet    of Value” and how the Company’s technologies could turn a “Spark to a Wildﬁre”
23

24   23
               Send Payments, xVia, https://ripp1e.com/solutions/send-payments/ (last visited on June 29,
25   2018).
     24
26             Q4 2017 XRP Markets Report, https://ripple.com/insights/q4—20 l 7-xrp—markets—report/.
     25
27             Id.

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                 by increasing liquidity and efﬁciencies for cross—border transactions for the Company’s banking
                 clients.    A February   2016 white paper followed up on those purported “network effects,” claiming

                 that the use     of   the Ripple network at XRP would increase banks’ returns on investment by

                 improving the global payment infrastructure.

                            62.    In addition, on March 20, 2017, Ripple Labs retweeted a Bloomberg article regarding

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                 adoption     of Ripple   Labs Enterprise Solutions, proclaiming “Ripple is the only company in this

                 space   with real customers who are really in production.”26
                            63.    The price   of XRP      increased rapidly following this tweet and on March 24, 2017

                 Ripple Labs tweeted: “The price          of #XRP   continues to surge showing that people are looking for

1o               #bitcoin alternatives.”27

11                          64.    On April 26, 2017, Ripple Labs tweeted a link to an article on its own site,

12               proclaiming “#Ripple welcomes 10 additional customers to our #blockchain #paymentsnetwork.”28

13               Neither this tweet nor the article it linked to informed readers that the blockchain payments

14               network did not refer to the XRP Ledger, but rather Ripple’s xCurrent enterprise solution.

15                          65.    Just days later, on May 3, 2017, with the price        of XRP continuing to    rise, Ripple

16               Labs tweeted: “#Ripple adoption is sparking interest in XRP ‘which has had an impressive rally in

17               the last months’ via @Nasdaq.”29

18                          66.    Articles such   as   “Ripple XRP price picks up pace   as demand   for xVia API increases”

19               have made the direct connection between the price            of XRP   and the adoption    of   the Company’s

20

21

22

23
                 26
24                          @Ripple, https://twitter.com/Ripple/status/844009778309357568 (last visited on June 29, 2018).
                 27
25                          @Ripple, https2//twitter.com/Ripple/status/845347809830195200 (last visited June 29, 2018).
                 28
26                          @Ripple, https://twitter.com/Ripple/status/85 72673 04618278912 (last visited June 29, 2018).
                 29
27                          @Ripple, https://twitter.com/Ripple/status/85 9904105916923 904 (last visited June 29, 2018).

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              Enterprise Solutions.30 Ripple itself has made this link, for example tweeting on May 16, 2017: “The

 N            appeal that Ripple has towards traditional ﬁnancial institutions is a big advantage                it has over Bitcoin.”31
                         67.    On June 29, 2017, Ripple Labs tweeted a clip                         of   an interview its CEO Brad

              Garlinghouse gave on CNBC with the caption: “#XRP—up 4000% this year—has shown the market
 \IONUI-PU)



              favors a real use case for #digitalassets          .   .   .
                                                                             3’32    In that interview, Garlinghouse proclaims that
              “digital    assets are   in   a   position to be more valuable than gold,” and describes XRP                as   “solving    a

              real-world use case, it’s not just about speculators.”

                         68.    On September 11, 2017, Garlinghouse stated in an interview with CNBC: “People are

              looking at the success Ripple has been having              as a   company, and       I think that’s increased the value of
10            XRP.”33 (emphasis added). He continued by stating that Ripple wants “to keep focusing on making

11            XRP a valuable payments tool, and that value               will       increase accordingly,” and he was “voting with my

12            . . .   pocketbook on the future increased value       of cryptocurrencies.”34
13                       69.     On November 27, 2017, Garlinghouse tweeted “Ripple                       & $XRP   are giving business

14            ‘what they want in a #blockchain,”’ along with a link to a Motley Fool tweet.35 That Motley Fool

15            tweet in turn stated that “AmEx and Banco Santader                          will   use Ripple’s blockchain network for

16            instant intl. fund transfers. Could be a big deal for Ripple ’s XRP cryptocurrency. $ASP $SAN”

17            (emphasis added.)36

18

19            30
                         httpsz/lglobalcoinreport. com/ripple—xrp—price—picks—up-pace- as—demand—for—xvia—api-increases/.
20            31
                         @Ripple,https://twitter.com/Ripple/status/864635614020251649.
21            32
                         @Ripple, https://twitter.com/Ripp1e/status/880532198025121793 (last visited June 29, 2018).
22            33
                      htpps://www.cnbc.corn/2017/09/1 l/ripple—ceo-brad-garlinghouse—on—bitcoin—and-xrp.htrnl                        (last
23            Visited June 29, 2018).
              34
24                       Id.
              35
25                       @bgarlinghouse, https://twitter.com/bgarlinghouse/status/93 5225940845 71 1366 (last visited on
              June 29, 2018).
26            36
                         @themotleyfool, https://twitter.com/themotleyfool/status/934850515640471553 (last Visited on
27            June 29, 2018).

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            70.    Similarly, on December 14, 2017, Ripple Labs tweeted: “The Japan Bank
     Consortium launched a Ripple pilot with two large Korean Banks 4 the ﬁrst time money moves

     from Japan to Korea over RippleNet.”37 On that same day, Ripple Labs tweeted “@garlinghouse

     [its CEO’s twitter handle] on why crypto prices   will   be driven by real   utility, the multi-trillion   $

     problem @Ripple is solving and why $XRP      will come out on top.”38
            71.    Ripple Labs would later acknowledge that “neither the AMEX news nor the Korean

     bank initiative involved XRP.”

            72.    Nevertheless, this tweet linked to a BNN interview with Mr. Garlinghouse, in which

     he says:
            The reason Why XRP has performed so well this year, we’re solving a real problem,
10          it’s a multi—trillion dollar problem around cross-border payments. There is a lot of
            friction its very slow its expensive, we’re working with the institutions to deal with
11          that, so people have gotten excited.     We now have over 100 customers we’ve
            announced publicly.
12
            He continues,
13
            [A]t the end of the day the value of digital assets will be driven by their utility. If
14          they are solving a real problem, and that problem has scale, and that problem, you
            know there is real value there, then there will be demand for the tokens and the price
15          will go up. For XRP we have seen because its required, its something that can really
            reduce the friction, and we’re talking about a multi-trillion dollar problem in how
16          cross—border payments ﬂow. And so, I think if you drive real utility, yes there’s
            going to be demand for that. XRP is up 100x this year, and I think it’s because the
17          problem we are solving people realize is a real problem, it’s a big problem.
18   (Emphasis added.)
19          73.    On January 4, 2018, following XRP’s rapid price increase, The New York Times

20 published an article by Nathaniel Popper titled: “Rise     of Bitcoin Competitor Ripple    Creates Wealth

21   to Rival Zuckerberg.”39 Mr. Popper tweeted a link to this article with the caption: “On the rise           of
22

23

24   37
            @Ripple, https://twitter.com/Ripple/status/94l501026267316224 (last Visited on June 29, 2018).
25   38
            @Ripple, https://twitter.com/Ripple/status/94l352005058011137 (last visited on June 29, 2018).
26   39
            @nathanielpopper, “Rise   of Bitcoin Competitor Ripple   Creates Wealth to Rival Zuckerberg,”
27 NY TIMES   (Jan. 4, 2018).

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           If this is a tulip fever, the fever has spread to Chrysanthemums and poppies”4°. He ﬁther
     Ripple.

     commented, “I’ve asked several people close to banks if banks are indeed planning to begin using

     Ripple’s token XRP, in a serious way, which is what investors seem to assume when they buy in at

     the current XRP prices. This is a sampling what I heard back:

                     0      Actual use of XRP by banks is not something I’ve heard about, I ﬁnd the
                            run up absolutely blufﬁng, as do all the blockchain folks I know at large
                            Fis.
                     o      XRP isn’t used for anything. The hope is that someday                  it will    be by
                            banks, but there really aren’t banks signaling that yet.
                     0       I would   be surprised   if there have been any real bank transactions               done
                            with it (outside of maybe test transactions), despite people making claims
                             to the contrary.
                     0       It’s not clear to me Why XRP would be used by banks at all. XRP could
10
                            potentially be adopted by consumers as a payment rail, although they
                            don’t yet have meaningful traction in that regard.
11
                      -     I haven’t seen a sufﬁciently large catalyst in the fundamentals of Ripple to
12                          justify a greater than 10x move in the price of $XRP in the last month.
13
                      0     In a few years we’re going to look back on 2017 and think WTF were we
                             thinking.”41
14
               74.   Defendant Garlinghouse publicly responded to this, tweeting: “Over the last few
15
     months I’ve spoken with ACTUAL banks and payment providers. They are indeed planning to use
16
     XRapid (our XRP liquidity product) in a serious way           .   .   .   .” He follows up stating,     “I   don’t think
17
     you want to hear about validation for XRP.                  The @NYTirnes should be above spreading
is
     anonymous FUD.”42          FUD, which stands for fear, uncertainty, and doubt, is an expression
19
     frequently used among crypto—investors to deride or undermine criticism                of an asset.
20
               75.    On January 4, 2018, Ripple’s XRP product manager also attacked Mr. Popper,
21
     tweeting: “Do you think       I left #Bitcoin   and joined @Ripple to build bank software? Think again.
22

23   4°
               @nathanielpopper, https://'twitter.com/bgarlinghouse/status/949129952716234752 (last Visited
24 on June 29, 2018).
     4’
25          @nathanielpopper, httpsz/ftwitter.c01n/bgarlinghouse/status/949129952716234752 (last visited
     on June 29, 2018).
26   4”
            @nathanielpopper, https://twitter.com/bgarlinghouse/status/949129952716234752 (last visited
27   on June 29, 2018).

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             $XRP.”43      This tweet linked to a Ripple Labs tweet stating that “3 of the top                5   global money

             transfer companies plan to use XRP in payment ﬂows in 2018. Even more in the pipeline.”

                     76.      In January 2018, Ripple Labs touted “a partnership with MoneyGram                    —   one   of the
             world’s largest money transfer companies            —   to use xRapid and XRP for near real-time cross—border

             payments. In addition, there are a number            of other xRapid deals   at various stages   of completion in
             the pipeline.”     It   also stated that    it   wanted “to build the necessary markets infrastructure for
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             eventual direct usage      of XRP by ﬁnancial institutions.” Defendant Garlinghouse                  commented on

             this partnership, saying: “And to be clear: @MoneyGram announcement is one step in a marathon

             ahead to   truly make $XRP the global liquidity solution for payment providers and banks.”44
10                   77.      By way of the internet, including Ripple Labs’ website, Twitter, and the over 50
11           cryptocurrency exchanges that trade XRP, interstate means are used in connection with the offer

12           and sale   of XRP.
13                         C. XRP Is a Security

14                   78.      Plaintiff and the Class invested ﬁat, including U.S. dollars, and other digital
15           currencies, such as Bitcoin and Ethereum, to purchase XRP.

16                   79.      Defendants sold XRP to the general public through global, online cryptocurrency

17           exchanges. XRP can be bought or sold on over 50 exchanges.

18                   80.      Every purchase of XRP by a member of the public is an investment contract.

19                   81.      Under Section 2(a)(1) of the Securities Act, a “security” is deﬁned to include an

20           “investment contract.” 15 U.S.C.        §   77b(a)(1). An investment contract is “an investment            of money
21           in   a common enterprise      with proﬁts to come solely from the efforts of others.” SE. C.                    v. W.J.

22 Howey C0., 328 U.S. 293, 301 (1946).                              Speciﬁcally, a transaction qualiﬁes      as an    investment

23           contract and, thus, a security      if it is:    (1) an investment; (2) in a common enterprise; (3) with a

24

25           43
                     @Warren Paul Anderson, https://twitter.com/warpaul (last visited on June 29, 2018).
26           44
                     @bgarlinghouse, https://twitter.com/bgarlinghouse/status/9514615 8242435 8912 (last Visited on
27           June 29, 2018).

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                 reasonable expectation       of proﬁts; (4) to be derived from the entrepreneurial or managerial efforts of
                 others.    See    United Housing Foundation, Inc.        v.    Forman, 421 U.S. 837, 852-53 (1975).             This

                 deﬁnition embodies       a   “ﬂexible rather than   a static   principle, one that is capable of adaptation to

                 meet the countless and variable schemes devised by those who seek the use                of the money of others
                 on the promise        of proﬁts,”   and thereby “permits the        fulﬁllment of the statutory purpose of
                 compelling full and fair disclosure relative to the issuance of ‘the many types of instruments that in
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                 our commercial world fall within the ordinary concept of a security.” Howey, 328 U.S. at 299.

                 Accordingly, in analyzing whether something is                 a security,   “form should be disregarded for
                 substance,” and the emphasis should be “on economic realities underlying a transaction, and not on

10               the name appended thereto.” Forman, 421 U.S. at 849.

11                         82.     Plaintiff and the Class were investing in         a   common enterprise with a reasonable

12               expectation      of proﬁts when they invested in XRP.
13                         83.      The proﬁts   of Plaintiff   and the Class are intertwined with the fortunes          of Ripple
14               Labs. Ripple Labs concedes that          it “sells XRP to fund its operations        and promote the network.

15               This allows Ripple Labs to have a spectacularly skilled team to develop and promote the Ripple

16               protocol and network.”45

17                         84.      Notably, the SEC has already concluded that virtual Currency substantially similar to

18               XRP are “securities and therefore subject to the federal securities laws.” As stated by the SEC,

19               “issuers   of distributed ledger or blockchain technology-based              securities must register offers and

20               sales   of such securities unless a valid exemption applies.”46
21                         85.      No such valid exemption from registration requirements exists for XRP.
22                         86.      The current SEC Chairman, Jay Clayton, III, recently said,         “I have yet to   see an   ICO

23               that doesn’t have a sufﬁcient number       of hallmarks of a security.”47
24
                 45
                           Ripple credits, https://wiki.ripple.com/Ripple credits#XRP (last visited on June 29, 2018).
25
                 46
           Press Release. SEC Issues Investigative Report Concluding DAO Tokens, a Digital Asset, Were
26 Securities, SEC (July 25, 2017), https: //www. sec. gov/news/press—release/2017— 131
           Dave Michaels       and     Paul Vigna,        “SEC Fires Warning Shot Against Coin
27 Offerings,” WALL STREET JOURNAL
                                        (Nov. 9, 2017).
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                                               CLASS ACTION ALLEGATIONS
                   87.     This suit is brought      as a class   action pursuant to Section 382         of the California Code
           of Civil Procedure, on behalf of a        Class   of all   persons or entities who purchased XRP from           July 3,
           2015 through the present. Excluded from the Class are Defendants; the ofﬁcers and directors                       of the
           Company and XRP         II   at all relevant times; members           of their immediate families        and their legal
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           representatives, heirs, successors, or assigns; and any entity in which Defendants have or had a

           controlling interest.

  00               88.     Plaintiff reserves the right to amend the Class deﬁnition           if further investigation     and/or

           discovery indicate that the Class deﬁnition should be modiﬁed.

1o                 89.     The members      of the   Class are so numerous that joinder      of all members     is impracticable.

11         While the exact number of Class members is unknown to Plaintiff at this time and can only be

12         ascertained through appropriate discovery,        Plaintiff believes that there are thousands of members of the

13         proposed Class. The members        of the proposed Class may be identiﬁed from records maintained by the
14         Company and may be notiﬁed         of the pendency of this action by mail, using customary forms of notice
15         that are commonly used in securities class actions.

16                 90.     Plaintiff’s claims are typical of the claims of the members of the Class            as   all members of

17         the Class are similarly affected by Defendants’ wrongful conduct.

18                 91.     Plaintiff will fairly and adequately protect the interests of the members of the Class and

19         has retained counsel competent and experienced          in class and securities litigation.

2o                 92.     Common questions      of law and fact exist      as   to all members   of the   Class and predominate

21         over any questions solely affecting individual members           of the   Class. Among the questions         of law   and

22         fact common to the Class are:

23                         (a)     Whether XRP are securities under the Securities Act;

24                         (b)     whether the sale of XRP violates the registration requirements of the Securities

25                                 Act; and

26                         (c)     to what extent     Plaintiff and members of the Class have sustained damages and the

27                                 proper measure of damages.

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                      93.     A   class action is superior to all other available methods            for the fair and efﬁcient

             adjudication    of this controversy   since joinder   of all   members is impracticable.      Furthermore,      as the

             damages suffered by individual Class members may be relatively small, the expense and burden                        of
             individual litigation make it impossible for members of the Class to individually redress the wrongs

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             done to them. There     will be no difﬁculty in the management of this action as a class action.
                                                         CAUSES OF ACTION              \

                                                     FIRST CAUSE OF ACTION
                                     Unregistered Offering and Sale of Securities in Violation of
                                             Sections 5 and 12(a)(1)of the Securities Act
                                                      (Against All Defendants)
1o                    94.      Plaintiff, on behalf of himself and all others similarly situated, realleges and incorporates

11           herein by reference each and every allegation contained in the preceding paragraphs              of this complaint,
12           and further alleges as follows:

13                    95.      Defendants, and each   of them, by engaging in       the conduct described above, directly or

14           indirectly, made use of means or instruments of transportation or communication in interstate commerce

15           or   of the mails, to offer to sell or to sell securities, or to carry or     cause such securities to be carried

16           through the mails or in interest commerce for the purpose of sale or for delivery after sale.

17                    96.      XRP are securities within the meaning of Section 2(a)(l) of the Securities Act,          15   U.S.C.

18           §77b(a)(l).

19                    97.      Plaintiff and members of the Class purchased XRP securities.
20                    98.      No registration statements have been ﬁled with the SEC or have been in effect with

21           respect to any   of the offerings alleged herein. No exemption to the registration requirement applies.
22                    99.      SEC Rule 159A provides that, for purposes        of Section 12(a)(2),   an “issuer” in   “a primary

23           offering of securities” shall be considered a statutory seller. 17 C.F.R.         §   230.159A(a). The Securities

24 Act in turn defines “issuer” to include every person who issues or proposes to issue any security.                            15

25           U.S.C.   §   77b(a)(4). Ripple Labs and XRP    II are issuers of XRP.
26                    100.     The US. Supreme Court has held that statutory sellers under §12(a)(l) also include “the

27           buyer’s immediate seller” and any person who actively solicited the sale          of the securities to plaintiff and
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     did so for ﬁnancial gain. See Pinter v. Dahl, 486 US. 622, 644 n.21 & 647 (1988); accord, e.g., Steed

     Finance LDC v. Nomura Sec. Int’l, Inc. No. 00 CiV. 8058, 2001 WL 1111508, at *7 (S.D.N.Y. Sept. 20,

     2001). That is, §l2(a)(1) liability extends to sellers who actively solicit the sale                  of securities with    a

     motivation to serve their own ﬁnancial interest or those of the securities owner. Pinter v. Dahl, 486 US.

     622, 647 (1988); Capri v. Murphy, 856 F.2d 473, 478 (2d Cir. 1988). Ripple Labs, XRP II, and the

     Individual Defendants are all statutory sellers.

              101.    By reason of the foregoing, each of the Defendants have violated Sections 5(a), 5(c), and
     12(a)   of the Securities Act,   15   U.S.C. §§77e(a), 77e(c), and 771(a).

              102.    As a direct and proximate result of Defendants’ unregistered sale of securities, Plaintiff

10   and the Class have suffered damages in connection with their XRP purchases.

11                                             SECOND CAUSE OF ACTION

12                                  Violation of Section 15 of the Securities Act
                                (Against Ripple Labs and the Individual Defendants)
13
              103.    Plaintiff, on behalf of himself and all others similarly situated, realleges and incorporates
14
     herein by reference, each and every allegation contained in the preceding paragraphs                     of this Complaint,
15
     and further alleges as follows:
16
              104.    This Count is asserted against Defendants Ripple Labs and the Individual Defendants
17
     (collectively, the “Control Person Defendants”) under Section              15   of the Securities Act,    15 U.S.C. §77o.
18
              105.    The Control Person Defendants, by virtue         of their ofﬁces, ownership,         agency, agreements
19
     or understandings, and speciﬁc acts were, at the time             of the wrongs alleged herein,            and as set forth
20
     herein, controlling persons within the meaning           of Section   15   of the Securities Act.     The Control Person
21
     Defendants, and each       of    them, had the power and inﬂuence and exercised the same to cause the
22
     unlawﬁil offer and sale of XRP securities        as   described herein.
23
               106.   The Control Person Defendants, separately or together, possess, directly or indirectly, the
24
     power to direct or cause the direction of the management and policies                 of XRP   11,   through ownership of
25
     voting securities, by contract, subscription agreement, or otherwise.
26
               107.   The Control Person Defendants also have the power to direct or cause the direction of the
27
     management and policies      of Ripple Labs.
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                          108.     The Control Person Defendants, separately or together, have sufﬁcient inﬂuence to have

               caused XRP        II and/or Ripple Labs to   submit a registration statement.

                          109.     The Control Person Defendants, separately or together, jointly participated in Ripple

A              Labs’ and/or XRP II’s failure to register XRP.

                          110.     By virtue of the conduct alleged herein, the Control Person Defendants are liable for the
               wrongﬁrl conduct complained of herein and are liable to Plaintiff and the Class for rescission and/or
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               damages suffered.

                                                              PRAYER FOR RELIEF

                        WHEREFORE, Plaintiff prays for judgment as follows:

10                      A.         Declaring this action to be a proper class action and certifying Plaintiff      as Class

11             representative;

12                      B.         Declaring that Defendants offered and sold unregistered securities in violation of

13             Sections 5(a), 12(a), and 15     of the Securities Act;
14                        C.       Awarding Plaintiff and the other members of the Class rescission of their XRP purchases;

15                      D.         Awarding Plaintiff and the other members of the Class compensatory damages;

16                      E.         Awarding Plaintiff and the other members of the Class pre-judgment and post-judgment

17             interest, as well as reasonable attorneys’ fees, expert witness fees, and other costs and disbursements;

18                        F.       Requiring an accounting of all remaining assets and funds raised by Defendants through

19             the sale   of XRP;
2o                        G.       Imposing a constructive trust over the assets and ﬁnds raised by Defendants through the

21             sale   of XRP;
22                        H.       Enjoining and restraining Defendants from violating the securities laws through the

23             continued unregistered sale      of XRP;     and

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                                                                                  New York, NY 10169
13                                                                                Telephone: 212- 223- 6444
                                                                                  Fatsimile‘:3 212-223- 633.4
14                                                                                Email: tlaughlm@scott—scott com
       j
                                                                                          rsWartz@seott-scott. com‘
1   5.
                    .
                                                                                  Co‘u‘ns‘elfor‘ Plaintiff
167


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                                                                          ”2:22
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                                                                      '
                                                                                      .-,                                           ’
                                                                           COMPLAiNT
                                        Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 25 of 35



                                                                                                                                                                                              FOR COURT USE ONLY

                                                               I:
                    600 W Broadway, Suite 3300
                    San Diego, CA 92101
                            TELEPHONE Nov:      619— 233- .4565                                      FAX          No:   619- 233~ 050.8
                                                                                                                                                                                       RELIED
                                                                                                                                                                                SAN MATEO COUNTY
,        ATTORNEY FOR Warner                    Plaintiff AVIler
                                             Green'wald
        SUPERIOR COURT OF CALIFORNIA, COUNTY or: San Mateo
             STREET/(003555;. Alli)                 ..        (‘mmtv (“enter                                                                                                                  JUL 0 3 2018
                          MAILING ADDRESS,
                                                                     "                                                   ‘        '
                         ‘cITY_ ANo ZIP CODE:   Redwo                    City CA 94063
                             BRANCH NAME'       Southern                  ”no. . all of Justice)




                                                                                                                                                                                                                                                                        l
                CASE NAME:
                Grecnwald v. Ripple Labs, Inc                                                                                ,,                                                                                                                     Sheet
                                                                                                                                                                                                                                                                      Ilillilllliillilllililllilillll




                                                                                                    -
                                                                                                      .                                                 >




                         CIVIL CASE COVER SHEET


                                                                                                                                                                                                                                                                        ll
                                                                                                                  Complex Case Designation                                                                                                ._
                                                                                                                                                                                                                                                    Cover




                 (Amount
                            ”WWI?“                                  “"3939?!
                                                                    Cb‘ti‘nter
                                                                    (Am nt
                                                                                       Jo‘i‘n‘der
                                                                                                          JUDGE
                                                                                                                                          El                                  ------
                                                                                                                                                                                                                                          8
                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                    Case


                demanded              demanded   Is   .
                                                            Filed: with ﬁrst appearance by defendant                                                                                                                                  ,
                                                                                                                                                                                                                                          E    m
                 exceeds $25,000)... $25 000 or less) _ ..... (Cal Rules of ocuit rule3402)
                                                                                                                                                                                                                                                            1244163


                                                                                                           DEPT;  ..                                                                   7,                                      g          a;   8    Civil


                                                                                                                                                                                                                                      /
                                                                                                                                                                                                                                      |

                                                          -
                                                                                                                                                                                                                                          1-   L3
                                         Items 1— 6 below must be completed {s'é‘é instructions on page 2) I                                                                                                                                        ‘

         1:: ‘Check one box below for the case type that bést describes this casei
    "




              Auto Tort                                   Contract                                Prqvisionanv complexmvil. Litigation.
                        ("25)     Auto
                                                          ‘
                                                                 sweater contract/warranty (06) (car. Rule‘s‘of court; rule‘suoo—amoa)
                                                                                                                                                                  I:I
                                                                                                                                                                                                                                                             ERIE)
                                                                                                          '

                                  Uninsured motorist (46)                                                         Rule 3.740 collections (09)                               Antitrust/Trade regulation (03)
                    Other PIIPDIWD (Personal injury/Property
                    Dania elWrongful Death) Tort
                                                                                                  Elli]   .       Other collections (09)
                                                                                                                  insurance coverage‘(18)                         I:        Construction defect (10)
                                                                                                                                                                            Mass tort (40)                                                                        AS




                    I
                                                                                                          «



                                  Asbestos (Q4)                                                        I Other contract (37)                                      CZ]       Securities litigation (28)
                                                                                                                                                                                                                                                                      we;
                                                                                                                                                                  I:]:
                    1:]
                                  Product liability (24)
                                  Medical malpractice (‘45)                                       -,
                                                                                                  Real Property
                                                                                                       ‘
                                                                                                         Eminentdomain/lnverse
                                                                                                         condemnation (14)
                                                                                                                                                                    ,   ,
                                                                                                                                                                            Environmental/Toxic tort (30)
                                                                                                                                                                            Insurance coverage claims arising from the‘
                                                                                                                                                                            above listed provisionally complex case
                         Other PIIPDNVD (23)
                                         '

                    NOD-PI/PD/WD (Other) Tort
                                                                                 practice ((5K)
                                                                                                  E
                                                                                                  .B
                                                                                                         Wrongful eviction (33)
                                                                                                       Other realtproperty;(26)
                                                                                                                                                                            types (41>
                                                                                                                                                                  Enforcement of Judgment
                             : Business tort/unfair business
                              ;   Civil rights:(08)                                               Unlawful Detainer                                               I:I       Enforcement of judgment (20)

                              .
                                  De‘famationﬁt’i‘)                                                               Commercial (31)                                 Miscellaneous Civil Complaint
                    WEBER
                              >
                                  Fraud(16)                                                                       Resrdentral (32)                                E]: RICO (27)
                              ,
                                  Intellectual property (19)                                              5‘
                                                                                                                  Drugs (38)
                                                                             R



                              _   Professional negligence (25)                                    Judicial Review                                                 Miscellaneous Civil Petition
                    C3            Other non-Pl/PD/WD tort (35)                                           Assétforfeiture(05)                                                Partnership and coiporate 90vernancé (21)
                                                                                                                  Petition re arbitration award (11)
                    Employment
                    I:Iv Wrongftrt termination~(36)                                               D. Writ of                 mandate (02)
                                                                                                                                                                  [:1       Other petition (not spear!”ed above) (43)

                                  Other employment (15)
                                                              U                  ..........                       OJher iudicial review (39)
                     ‘




        2.. This case


                         a.
                         11-
                            -            LL]
                                           is           is not   complex under rule 3 400 of the California Rules of Court. if the case is complex mark the
                         factors requiring exceptional judicial management
                                  Large number of separately represented parties
                                  Extensive motion practice raIsrnnft‘ cult or; novel
                                                                                        d.      Large number of witnesses
                                                                                                                                       env-
                                                                                                Coordination with related actions pending in onefor more courts

                         c-       issues that will be time-consuming to resolve
                                  Substantial amount of documentary evidence            f.
                                                                                                in other counties; states or countries or in a federal court
                                                                                                                                        -_
                                                                                                Substantial postjudgment judicial supervision

                                                                                                                                                                                                                        E] punitive
                                         -
                                                                                                                                                                                                                   c.
        $.15”



                     Number of causes of action (specify). There are two: 15 U.S.C. sections 771 and 7.70
        919‘
                5    This case          is         is not     I:I
                                                           a class acfion suit.                           ‘ ‘
                                                                                                              I
                     if there are any knOvim related cases. ﬁle and serve a notice}: of related case ()50
        Date. July3, 2018
        JohnT. Jasnoch                                          .        .
                                                                                                              ’   .
                                                                                                                                               ’-   '       ”
                                                  gm'PE OR PRINT RAMS!                                                                                          js'lGNATURE QFVﬁRT‘? 0R ATTORNEY FOR PARTY)
                                                                                                             2’                       NOTICE
                .        Plaintiff must ﬁle this cover sheet. with the ﬁrst paperrﬁled In the action or proceeding (except small claims cases or cases filed
                         under the Probate code; Family Code or Welfare and institutions Code). (Cal. Rules of Court, rule 3 220.) Failure to ﬁle may result
                         in sanctions
                0        File this cover sheet'In addition to any cover sheet required by local court rule.
                0        if this case is complex- under rule 3 400 et seq. of the California Rules of Court, you must serve. a copy of this cover sheet on all
                         other parties to the action or proceeding.


        Form Adopted lcr Mandatory Use                                                                                                                                           Cal Rules oi Court rules 2 30 3 220 3 400—3 403 3 74,0
          Judicial Council of California
                                                                                                  CIVIL CASE COVERSHEET                                                                 Cal Standards of Judicial Administration std ’23 10
          CM- 010 (Rev, July1. 2007]                                                                                                                                                                                wwiv caurrinfo ca gov
                 Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 26 of 35



                                                                      ~                                                                                                CM.- 010
                                 INSTRUCTIONS ON HOW TO’CQMPLETEITHE COVER SHEET
To Plaintiffs and Others Filing First Papers. lliyou are‘fiiing a-rﬂrst paper (for example, a complaint-)‘in a: civil case, you must
                                                               C‘ ‘er‘Sheet‘cont‘aine‘d on page}. This ‘informationtwill be used to compile
completeand file, along withyourﬁrst paper, the Civil Case
statistics about the types and numbers of cases ﬁled. Ydu must complete items 1 throug‘hﬁ on the‘sheet. in‘iternii, you‘must check
oneibox for the‘case type that best describesthe case,‘ If the case fits both a general sin .a more speciﬁctype' ofioase‘listed in item 1,
check the more specific one. lf‘the case has multiplezcauseszof action, check-the box that best indicates the primary
                                                                                                                            cause’of action.
To assist you in completing theshe‘et, examplesjortne casesthat b‘elongunde‘r each case‘t'ype‘ in item 1 are provided below. A cover
sheet must be ﬁledorily with yd‘ur‘i‘nitial papernﬁaiure to files cover sheet with the first paper ﬁled in a civil case may subject a party,
its counsel, or both to sanctions under rules:2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3,140t ColiectionsCéses. A "collections case" under rule, 3.740 is deﬁned as an actionfor recovery of money
owed in a sum stated to be ‘certain that is flotilib’reﬂhéri $25,000, exclusive of interest~ and attorney's fees, arising from (a transaction in
Which prOperty. services,‘ or money was acquired on credit. A collections case does not include an action seeking the following: (1)§tort
damages, (2) punitive. damages, (3;) recovery of real property, (4) recovery of personal property; or (5) a pi‘éiudginent" Writ of)
attachment. The: identiﬁcation of‘a case as a rulej»3‘.7;40fcoilections case on thisiform:
                                                                                              means'th‘at it’vvill beIexemptﬁfromﬁhe general
time-forj's‘ervice teq’uirements: and case managementrules, unless adefendant ﬁles a responsive pleading. A rule 3:740 collections
case Will be subjecttdthe requirements forése‘rvi‘ce and obtaining a‘judgr'nent in rule 3,740,;
To Parties in Complex Cases. incomplex‘cases- only, parties must also use the Civil case Cover Sheetto designate whether the
case is complex.3lf a plaintiffbelieves‘ the case‘is compiei under rule 3.400‘of the California Rules of Court, thismust be indicated by
completing the;appropriate boxes in items :{and 2. its plaintiff designates a caseaas complex; the cover sheet must be served with the
complaint‘on all parties to theaction . A defendant may fileaﬁd serve no later than the tinfie‘ of its: first appearances joinder in the
plaintiffs‘designation, a counter—designation that ‘the case is notco‘inplex, or, if the‘piaintiff has made no designation, a designation that
the case is complex.                                          CASE TYPES AND‘EXAMPLES
Auto, Tort                                       contract“                                              Provisionaily Complex Civil Litigation (Cal.
                             t
                  .
    Auto‘ (22)—Personal lnjury/Rropeny                   Bieach of contract/Warranty (06)               Rules of Court Rules 3.400954%)
         Damage/Wrongful Death
                                                             Biea‘ch‘ of Rental/Lease,                       Antitrust/,Trade Regulation (03)
      ‘
                                                                  Contrast (not qdiantfu/ defame“            construction Defect (.10).,
    Uninsured Motorist‘(4,6) (iﬁthe
                                                                      or wrongful eviction)                  Claims Inv‘élvinéiins‘sé Tart <40)
         case, int/alves an uninsured
                                                             CpntratitiWarrahty‘ Breach—Seller               Securities Litigation (28)
         motoﬁst claim ‘sdbjec‘t '9.
                                                                  Plaintiff (not fraud or negligence)        Environmentaliioxic‘fort (30)
         aljbitration, check this‘item
                                                             Negligent Breach. nicontract/                   insurance coverage ‘Ci‘aiins
        instead of Auto)
                                                                  Wai'ranty                                       (arising frat" Dior/(slowly comp/ex
other PllPDIWD (Personallnjuryl.                                                                                  case type listed a'bove)‘(41)
Property. DamageIWrongful Death)                             Other Breach of Contract/Warranty    ‘
                                                         Collections (e.g.,'m6ney~oiiiied, open          Enforcement of Judgment         ..
Tort . .. . ‘                                                                                               Enforcementof Judgment (20)
    Asbestos (04)                                            back accqunts) (09)
       Asbestos Prepsrtv Damage
                                                             Collection:Case—SelleriPiaintiff                                    ... M of
                                                                                                                ‘Abstract of iludgmenttOut
                                                                                                                            ”995“)?                   ‘f
       Asbestos Personal injury!                             OthenPr‘orﬁissory Note/Collections
                                                          .       Case           ..                                       Confession of ~Judgment (non:
            Wrongful Death“ .                            insurance Coverage (not provisionally                                domestic relations)
    Product Li ability‘m‘ot ‘a‘sbéstbs or                                             ‘

         ”toxic/environmental)(24)                           ample)       (18>                                            Sisteratatsidiidgmsm
                                ’
                                                             Auto, Subrogation                                            Administrative) Agency AWard
   Medical Malpfa‘ctice'ictfg)
                                                             Other Coverage                                                  (not unpaid taxes)           M        _

           Medical Malpractice—                                                                                                                                .




                                                         other Contraptm-                                                 Petition/Certiﬁcation of Entry of
                Physiriiahs‘ 8. Surgeons:
                                                             ContractUai‘Fraud                                              .iudgmeni on Urine? Taxes
           Other Professional Health Care                                                                                 Other Enforcement of Judgment
                 Malpractice                                 Other Coriti‘act Dispute
     .
                                                                                                                      ﬂ       Case:
   Other Pl/PDNVD (23)                           Real, Property                                                                       ‘   ‘

                                                     Eminent  Do‘riiainiinVerse                          Miscellaneous Civil Complaint
           Premises Liability (e.g:. slip               ‘
         '
                                                          condemnation (14)                                      RICO.(27)
                and fall)                                                                                        Other. Complaint (noispecified
           intentional Bodily_injirry/PD/.WD         Wrongful Eviction (35)                                          above) (42) .          ..
                 (egg. assault. vandalism)‘          Oth‘et‘Real Property (e.g.,‘quiet title) (26)                                            .

                                                                                                                     Declaratory Relief Only
           intentional inﬂiction of                          Writ of Possessionof‘R‘eal Property”
                                                                                              ‘                      injunctive Relief Only (non-
                 Emotional Distress                          Mortgage Foreclosure                                         harassment)~
           Negligent infliction of                           Quiet Title. .               .                          Mechanics Lien
                "Emotional Distress
                                                                               .  .
                                                                                  .



                                                             Other RealzProperty (not’eminent
                                                                                                  .
                                                                                                                                          “       .
                                                                                                                    ‘Other Commercial Complaint
          Other Pi/PD/WD                                     domain; landlord/tenant, or
                                                                                      '                                   Case {non-tort/non—complex)
Non-PilPD/WD (Other)‘Tort\                                   foreclosure)                                            Other CiviiComplainl .
    Business Wit/Unfair; Biiisiness              Unlawmparainer-
                                                     ‘                                                                   (ma-tatt/nbnxabmpiew
       Practice (07)                                     Commercial (31)                                  Miscellaneous Civil Petition
    Civil Rights (e.g.‘, discrimination.
                                  ‘                      ResidentialiSZ)                          _
                                                                                                                 Partnership and Corporate
        false arrest) (not‘civil                         Drugsn(38) {if the casehinvolves illegal                         Goverhanpsa (.21)
                                                                                                             .    .   .                           .    ,

           harassmentMOB)                                    drugs, Checkthis ite‘ni; otherwise,                 Other Petition ‘(not speciﬁed
    Defamation (6.9;. slander, libel)                        report as commercial 'or Residential)                   above) (43)
                                                                                                                                       ‘


           (13                                   Judicial Review                                                     Cit/“Harassment
    Fraud (16)                                      Asset Forfeiture       (95)                                     Workplace violence                     _


    Intellectual Property (1.9).:                        Petition Rel/\rbitration Award (1.1).                       Elder/Dependent Adult
    Professional Negligence (25)                         Writ‘of Mandate (02)                                             Abuse
        Legal Malpractice                                    Writ—Administrative Mandamus                            Election Contest
        Other Professional Malpractice                        Writ—Mandamus on Limited Court-                        Petition for Name Change
           (not medicaior legal)                                CasezMatter                                          Petition. for Relief From Late
     Other Non-PlIPDNVD‘To'rt (35)                          Writ—Otheriiimited Court Case                                 Claim‘
Employment                       .                              Review                                               Other Civil. Petition
    Wrongful Termination (36)                            Other Judicial ReView (39)
    Other Employment (15)                                    Review oil-lealth Officer Order
                                                             Notice of Appeal-Labor
                                                                Commissioner Appeals         .,

                                                                                                                                                                        Pagezolz
                                                         cu. CASE COVER SHEET
                                               Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 27 of 35



                                                                                                                                                                                                           311111211111:

                                                                           survrrvrous                                                                           FOR COURT USE ONLY
                                                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                                                     (CITACION JUDICIAL)
                          NOTICE TO DEFENDANT:
                          (A viso AL DEMANDADO):
                                                                                                                                                     FILED
                                                                                                                                             SAN MATEO COUNTY
                          AVNER GREENWALD, individually and on Behalf of All Others
                          Similarly Situated
                                                                                                                                                               JUL                  03            2018
                      YOU ARE BEING suep BY‘ PLAINTIFF:-
                      (L0 Es TA DEMANDANDO EL DEMANDANTE):
                          RIPPLE LABS, INC., a Delaware corporation, XRP II, LLC, a South
                          Carolina Limited Liability Company, BRADLEY GARLINGHOUSE,
                      ;
                           NOTICEI You have been sued The court may decrde against you without your being heard unless you respond within 30 dry: Read the information
                           below.
                              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to ﬁle a written response at this court and have a copy
                           sewed on the plaintiff. A letter or phone call will not protect you Your written response must be in proper legal form if you want the coUrt to hear your
                           case. There may be a court term that you can use fer your res’p'onse. You can ﬁnd these iiourt forms and more information at the California Courts
                           Online Self--Help Center (www courtinfo ca. gov/selfheip). your county law library or the courthouse nearest you If you cannot pay the tiling tee, ask
                           the court clerk for a fee‘waiver form. If you do \notrﬁle your responsie on time. you may lose the case by default, and your wages money. and property

                              There are other legal requirements You may want to call an attorney right away If you do not know an attorney, you may want to call an attorney
                          referral sen/ice. If you cannot afford an attorney, you may be eligible for free legal services from a nonproﬁt legal services program. You can locate
                          these nonproﬁt groups at the California Legal Services Web site (www Iawhelpcalifornia org) the California Courts Online Self—-Help Center
.3}                       (www: courtihfo ca gov/s‘eifhelp); .or by contacting your local court or county bar association. N:OTE The coun has a statutory lien for waived fees and
                          costs on any settlement er arbitration award of 6,10 000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
                      .   1AVISOI Lo han demandado; Si no responde denim de 30 dies. Ia corte puede decidir en su contra sin escuchar su versién Lea Ia ihfomracion a
                          continuacion.
                             Tiene 30 DIAS DE CALENDAR/O después de que la enir'éguen esta citacién y papeles legales para presenter una respuesta per escn‘to en esta
                      ‘
                          en formato legal correcto si desea que procesen su caso en la cone Es posible que haya un formu/ario que usted pueda user para su respuesta.
                          Puede enconti'a'r eslos formu/arios dé Ia coite y mas InformaciOn en el Centro de Ayuda de ‘Ias Cortes de California (www,sucorte ca.gov) en Ia
                          biblioteca de [eyes de su condado 0 en Ia cpn‘e que Ie quede mas cerca Si no puede pager Ia cuota de presentacién, pida' a! secretario de la cone
                      :   que Ie dé‘ un formr‘rlario de exencion de page dé cuotas Si no "presenta su respuesra a tieh1p0,puede perder el caso por incumpIimienIo y Ia corte Ie
                          padre quitar- su sue/do, dinero y brenes sin mas advertencia.
                            Hay olros requisites legs/es. Es recomendabie que [lame a 1m abogado inmediatamenie Si no conoce a un abogado, puede llamar a un Servicio de                                                  ‘


                          remision a abogados Si no puede pager a un abogado, es posibie que cumpla con Ios requisites para obtener seryicios IegaIes gratuitos de un


                          colegio de abogados locales: A_:VISO For Iey,~Ia corte tiene derecho a reclamarlas cuotas y Ios costos exentos porimponer un gra vamen sobre
                          cuaiquier recuperacion de $10000 6 mas de valor recibida mediante un acuerdo o urra concesion de arbitraje en un case do derecho civil. Tiene que
                      ,
                          pager eI gravamen de la corte antes .de que la 'corte pueda desechar el caso
                                                                                                                               "
                                                                                                                                   1"
                                                                                                                                        C‘ASF   11111
                                                                                                                                   '
                                                                                                                                        {Name/o de




                      "101111      T. 31115110611 600 W. BroadWav;~ Suite 3300 San Dieebi CA 92101; 619- 233-4565/

                      DATE:          IJUL         ti 3       2018.
                                                                            110131111111
                                                                                        mark. by
                                                                                            CATALANO                                                                                                      y Deputy
                      (Fecha)                                                           (Secretario)                               .
                                                                                                                                                        ~'
                                                                                                                                                                      ,
                                                                                                                                                                               .
                                                                                                                                                                                     .
                                                                                                                                                                                         A;   m          7:"(AdnI‘o)n
                      (Forproofoi‘ service of this summons, use Proof Of Service of Summons (form POS—4010) )                           V                '    ”                                    “
                                                                                                                                                                          (“18416—03461




           .
                                                                      2.
                                                                           a
                                                                       NOTICE TO THE PERSON SERVED. You are served

                                                                           i: M as the person sued under the ﬁctitious name of (specify)?
                                                                                                                                                ~”1                        SUM
                                                                                                                                                                      ’Summons Issued / Filed

                                                                                                                                                                      ‘




                                                                           I:
               ,
                                                                                                                                                                  |




                                                                      3_        on behalf of (specify):
                                                                                                                                                                  I
                                                                                                                                                                           l       ""         1111111111111
           .gxwuht.




                                                                           under:   l::l   CCP 41610::(corporation)                      .
                                                                                                                                                        CCP 416 60 (minor)
                                                                                    [:3    CCP 416.20 (defunct corporation)                      I      COP 416. 70 (conservatee)
                                                                              |:]          CCP 416 40 (association or partnership)      1:}             GOP 416 90 (authorized person)

                                                                              I:]
      .-




                                                                                          other (specify):

                                                             '
                                                                      4    E]   by
                                                                                     personal delrvery on (date):
                                                                                                ‘                                                                                                             8gp. 1   111”:
                          Form Adopted for~ Mandatory Use
                            Judicial Council of California
                                                                                                      suriirrvlous                                                                 Code of Ciuii Procedu. e §§ 4‘12 '20 465
                                                                                                                                                                                                     111W courrirrca gov
                           SUM—100    [Rev;.l.rly 1, 20093
                          Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 28 of 35




                                                           “             M        I,   I                       I        .       I,   .
                                                                                                                                                                           SUM-200M)?
 '
                                                                                                                                     I. CASEN
         SHORTTlTLE
'7. Greenwaid v.Ripplé Labs,IIﬁb., 6t ‘aL                                                                                                    ﬁg   G      I           V   93 4        1
                                                                                                                                                                                6
                                                                                            INSTRUCTIONS FOR USE
     +       This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons
     +       If this attachment Is used insert the foliowma statement'In the plaintiff or defendant box on the summons: "Additional Parties
                                           "
             Attachment form IS attached

         List additional parties (Ghee/«only one box, Use a separate page for each type of party):
                                                                         “
     ‘     [3       Plaintiff“                 Qefengant             .
                                                                             Cross--Complainant
                                                                                                           B            Cross- Defendant

                                                                                                      ”ED?     GORMAN ERIC VAN MILTEN'BURG SUSAN


         beféxtdantsi3




                                                       -   -----              -        -.    -.   .   ~   I-       II       I            n        I...       I   ,
                                                                                                                                                                                ,   Pagan-Ila
                                       “   "   "   "
 Fdrin Addoied for Mandatory Use                                   "‘“Kﬁ'ﬁii‘ioismi. PARTIES ATTACHMENT
         IIIIIIIICWIIII   Imam     .
SUM--202IAI‘IRev- J‘anuary 1.    20m                                          A‘t‘tadhmentito Summon's
            Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 29 of 35




_»   Attorney or Party without Attorney (Name/Address)                                                                     FOR COURT USE ONLY:
‘
     John T. Jasnoch (281605)
     SCOTT+SCQTT ATIORNEYS AT LAW LLP
     600W. Brdadw'ay.Su1’ie 3300
     San Diego, CA 92101

=


      am
     Tele hone
                   22.25::
     Attorney for: Plaintiff
                                        _




                                            .
                                                        .                            ,       ,   _   .   _,    .
                                                                                                                   3'




                                                                                                                   .3
                                                                                                                            F   i ii a n
                                                                                                                           SAN MATEO COUNTY
     SUPERIOR COURT OF CALIFORNIA                                                                                      ‘




     COUNTY OF SAN MATEO.                                                                                          3




                                                                                                                                JUL 0 3   201
     400 COUNTY CENTER
     REDWOOD CITY, CA‘ 94063
 '

     Plaintiff
1

     'AVNER QRlEEN‘WALD
i

     Defendant
     RIPPLE- LABS, lNC. et a].                  y
                                                    .




                                                                                                                                                 1—
                                                                                                                           18 CTVW‘SWL 6
                                                                                                                                                      Elallii




      This certiﬁcate must be completed and ﬁled with your Civil Case Cover Sheet if                                                                   A8

          you have checked a Complex Case dCSignation‘or CountersDeSignation                                                                            XVil




         £13»,    In the attached CiVil CiaseC‘ové‘r Sheet, thiscase is being designated or‘count‘er-designated
                 ::as~acomplex caselor as not a complex case].because at least one or more of‘the following
                 boxes has beeti‘clieCKe‘dﬁ

                                      Box   1   Case type that is best described as being [or not being] provisionally
                                                    —

                           complex“
                                                civil litigation (i. e., antitrust or trade regulation claims, construction
                                      defect claims involving many parties or structures, securities claims or investment
                                      losses involvmg many parties, environmental or toxic tort claims iiivolVing many
                                      parties, claims involving mass torts, or insurance coverage claims arising out of
                                      any of the foregoing claimS).
                      ti              Box 2:.—‘ Commas [01.1101 complex] due to fadtors requiring exceptional judicial
                                      management
                      Ci              Bo‘xéw Is [‘oriis‘ net] ’21 class’ac‘tion‘suit.


         2;      This case is being so designated based upon the following supporting information
                 [including without Imitation brief description of the following factors as they pertain to
                                                                                    a

                 (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
                 that will be time--consuming to resolve; (4) management of a large number of Witnesses or
                 a substantial amount of documentary evidence; (5) coordination with related actions


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                                                             CRCCD
                                                             Certificate   R 6'.   c°mplex Case
                                                             1244158




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       Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 30 of 35




            .pending‘in one or more courts in other counties, states or countries or in a federal court;
            ‘(§):whether or‘not’ certiﬁcation of a putative classaction will infact be pursued; and (.7)
             substantial post-judgment judicial supervision]:
             (1), (2), (3), (4) and (6),   ihis'Is a securities class action under the Securities Act of 1933 that

             charges a company and certain of its ofﬁcers and directors with unregistered sale of

             securities to investors in violation ofithe Securities Act. Defendants will obtain separate


             counsel; and there WIll be a large number of WItnesses and a substantial amount of

             documentary. eIiidence. Plaintiff will seek class certiﬁcation,




                                            (attach additional pages iffzebessai'){2t


 3,,    Based on the above-stated supporting information, there?Is a reasonable basis for the complex
        case designation or counter- designatibn [or noncomplex case Counter-designation] being made
        in theiattached ,Civil Case‘Cover Sheet.



                                                          *ﬂtﬂtivlt




I, the undersigned counsel or self-represented party, hereby certify that the above              13   true and correct

Procedure ,‘Section 128. 7 and/or California Rules of Professwnal Conduct, ,Rule 5-200 (B) and San
Mateo CountySuperior‘CourtELo'cal. Rules, Local Rule 2.30.
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CV-S9 [Rev. 1/06]                                                                        www.5anmate‘ocourterg
                                          Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 31 of 35

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                                                               NOTICE OF CASE MANAGEMENT CONFERENCE

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                                                                                      SAN MATEO oouixrrv’
                                                                                                                                                                   Case
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                                                                                                                                                                          Date:
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                                                                                                                                                                                      ——on     Wednesday & Friday
l/ll/ll/l/lll/l/I/llllll/lll/I/l
       You are hereby given‘
                                                           /
                                              notice-of your Case Management Conference. The date, time and department have been written above

        1.         in accordance with applicable California Rules                           ofthe Court and local                                      Rules 2.3(d)l~4 and 2.3(m), you are hereby ordered
                   tO'.

                          all.            named defendants and ﬁle
                                  Serve. all                                           proof5._9f.s.e_rvi.ce_qn                                   those defendants with the court within 60:.days of filing
                                  the complaint (CRC 201. 7).
                                  Serve   a   copy of this notice, Case Management Statement and ADR information Sheet on all named parties"in this
                                                                    ‘
                                   action.                                                                                                                                      ‘
                                                                                                                                                                                                                           3




                          c)       File and serve completed Case Management Statement at least lS—days before the Case Management
                                                           a

                                   Conference [CRC 212(g)]. Failure to do so may result in monetary sanctions.                                                                                                         .




                                   Meet endﬁcgnfer, in person or by telephone, to consider each ofthe issues identified in                                                                          CRC   212(f) no later than
                                   30-days before the date set for the Case Management Conference.
                    -If youfail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
                     to Show Cause hearing Will be at the same time as the Case Management Conference hearing. Sanctions may
                     include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.
            3.       Continuances of Case Management Conferences are highly disfavored unless good cause is shown.
                     Parties may proceed to an appropriate dispute resolution process (”ADR”) by filing a Stipulation to ADR and Proposed
                      Order (see attached form). If plaintiff files a Stipulation to ADR and Proposed Order electing to proceed to judicial
                     arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
                     Arbitration Administrator. If plaintiffs and defendants ﬁle a completed stipulation to another ADR process (e g,
                     mediation) 10—days prior to the first scheduled Case Management Conference, the Case Management Conference will be
                     continued for 90——days to allow parties time to complete their ADR session. The court will notify parties of their new Case
                     Management Conference date.
                     if you have filed a default or a judgment has been entered, your case is not automatically taken off Case Management
                     Conference Calendar. lf”Does", ”Roes," etc. are named'in your complaint, they must be dismissed in order to close the
                     case.        if any party
                                           bankruptcy, the case is stayed only as to that named party.
                                                   is in
                     You are further ordered to appear in person* (or through your attorney of record) at the Case Management Conference
                     noticed above. You must be thoroughly familiar with the case and fully authorized to proceed.
             7.      The Case Managementjudge will issue orders at the conclusion of the conference that may include:
                        a) Referring'parties to voluntary ADR and setting an ADR completion date;
                             b)     Dismissing or severing claims or'parties;
                             c)     Setting    a   trial date.
             8.     The Case Managementjudge may be the trial judge in this case.

             For   further information regarding               case management policies and procedures, see                                                  the court’s website at: www.5anmateocourt.org

             *Telephanic appearances at case management conferences are available by contacting CourtCa/l,                                                         LLC, an   independent vendor, atleastfive business days prior
             to the scheduled conference {see attached CaurtCal/          inform ati’on).
                     Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 32 of 35

                                               ERIOR COURT OF SAN MATEO COUNTY
                                                          Civil Department
                                           400 County Center, Redwood City, CA 94063
                                                       (650) 261—5100
                                                      www.sanmateocourt.org
                                                                                                                      f        _

            AVNER GREENWALD                                       Notice of Complex Case Status Conference                         2
                    Plaintiff (s)                                                                                                  3:;

                                                           Case No.: 18—ClV-03461         Date:    9/5/2018                        ‘2              llllllllllll
                        vs.
                                                                                          Time:       9:00 AM                      g
      RIPPLE LABS, INC., A DELAWARE                                                       Dept. p J                                 E
               CORPORATION                                                                                                          E
                Defendant (s)                                                                                              g        E;             llllllllllllllllllllllllll




 Title: AVNER GREENWALD VS. RIPPLE LABS, INC., A DELAWARE CORPORATION, ET AL                                           )   (2:33:        1244350


                                                                                                                           .
                                                                                                                               8 =3
                                                                                                                                         '                                 -

You are hereby given notice         of your Complex                              time and department have been
                                                      Case Status Conference. The date,
written above. At this conference, the Presiding Judge will decide whether this action is a complex case within the
 meaning of California Rules Court (”CRC”), Rule 3.400, subdivision (a) and whether it should be assigned to a single
judge for all purposes.

1.   In accordance  with applicable San Mateo County Local Rule 2.30, you are hereby ordered to:
     a.   Serve copies of this notice, your Civil Case Cover Sheet, and your Certificate Re: Complex Case Designation
          on all named parties in this action no later than service of your first appearance pleadings.
     b.   Give reason notice of the Complex Case Status Conference to all named parties in this action, even if they
          have not yet made a first appearance or been formally served with the documents listed in subdivision (a).
          Such notice shall be given in the same manner as required for an ex parte application pursuant to CRC
          3.1203.

2.   If you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The
     Order to Show Cause hearing will be at the same time as the Complex Cause Status Conference. Sanctions
     may include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal.

     An action is provisionally a complex case if it involves one or more of the following types of claims: (1) antitrust
     or trade regulation claims; (2) construction defect claims involving many parties or structures; (3) securities
     claims or investment losses involving many parties; (4) environmental or toxic tort claims involving many
     parties; (5) claims involving massive torts; (6) claims involving class actions; or (7) insurance coverage claims
     arising out of any of the claims listed in subdivisions (1) through (6). The Court shall treat a provisionally
     complex action as a complex case until the Presiding Judge has the opportunities to decide whether the action
     meets the definition in CRC 3.400(a).



     Any party who files either a Civil Case Cover Sheet (pursuant to CRC 3.401) or counter or joinder Civil Case Cover
     Sheet (pursuant to CRC 3.402, subdivision (b) or (C)), designating an action as a complex case in Items 1,2 and/or
     5, must also file an accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court.
     The certificate must include supporting information showing a reasonable basis for the complex case
     designation being sought. Such supporting information may include, without limitation, a brief description of
     the following factors as they pertain to the particular action: (1) management of a large number of separately
     represented parties; (2) complexity ofanticipated factual and/or legal issues’ (3) numerous pretrial motions that
     will be time-consuming to resolve; (4) management ofa large number of witnesses or a substantial amount of
     documentary evidence; (5) coordination with related actions pending in one or more courts in other counties,
     states or countries or in a federal court; (6) whether or not certification of a putative class action will in fact be
     pursued; and (7) substantial post-judgmentjudicial supervision.

                                                                                                                Rev. Jun. 2016
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For further information regarding case management policies and procedures, see the court website at
www.sanmateocourt.org

* Telephone appearances at Complex Case Status Conference are available by contacting CourtCalI,             LLC, and
independent vendor, at least 5 business days prior to the scheduled conference.

                                           CLERK'S CERTIFICATE OF MAILING
 Ihereby certify that am the clerk of this court, not a party of this cause; that served a copy of this notice on the below
                     I                                                          I


 date, by placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this court
 as set forth above, and by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the
 United States Mail at Red wood City, California.



 Date: 7/5/2018                                               Rodina M. Catalano,
                                                              Court Executive Officer/Clerl?"

                                                        By:
                                                              Antonio Geronimo,
                                                                                          A/
                                                              Deputy Clerk

 Copies mailed to:


     JOHN T JASNOCH
     SCOTT+SCOTT ATTORNEYS AT LAW LLP
     600 W BROADWAY STE 3300
     SAN DIEGO CA 92101




                                                                                                                   Rev. Jun. 2016
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            NOTICE TO DEFENDANT:
            ”Ms" M DEMANDAPO)?‘                                                                                                   :
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                RIPPLE LABS, INC, ‘a Delaware corporation, XRP II, LLC, a South
                Carolina Limited Liability Company, BRADLEY GARLINGHOUSE,
            YOU ARE BEING SUED BY PLAINTIFF:
            (LO ESTA DEMANDANDO EL DEMANDANTE):
                AVNER GREENWALD, Individually and on Behalf of All Others
                Similarly Situatcd
            ”
       f
              NOTICEVI You have been sued. The court may decide against you.without your being heard unless you respond within 30 days/Read the information fl
       3      below.
                 You have 30 CALENDAR DAYS after this summons and legal papers are sewed on you to file a written response at this court and have a copy
              served on the plaintiff; A letter or phone call will not protect you; Your written response must be ll_l_ proper legal form if you waiit the court to hear your                                                           .


              case ,There may be a court form that you can use for your response. You can ﬁnd these court forms and more information atthe California Courts
              Online Self--Help Center (www courtinfo. ca. gov/eelﬂwlp), your county law library, or the courthouse nearest you. If you cannot pay the ﬁling fee, ask
             the court clerk for a fée waiver" form. If you do not ﬁle your response on time, you may lose the case by default and your wages money, and property
       ‘



      “       may be taken without further warning from the com.
                 There are other legal requIrements You may Want to call an attorney right away. If you do: not know an attorney, you may want to call an attorney
              referral service if you cannot afford an attorney, you may be" eligible for; free- legal services from a nonprofit legal services program. YCLVI can locate
       .     these nonproﬁt groups at the California Legal Services Web Site wvv‘w‘la: elpcalifomia org). the California Courts VOnline Sélf--Hélp Center
                                                                                                                              VcouVrt has a Statutory lion fo'r waived fees. and
       .
              (www. courtinfo. ca.Vgov/selﬂrem). or by contacting your local court or county bar association. NOTE. The
      3       costs on any settlement or arbitration award of $10 000 or more in a civil case. The court's lien must be paid before the court will dismiss the case
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             [A VISOI Lo hen demandado Si no responde don’trd d9 30 dies la c‘ortVe pu‘ede decidirVen su contra sin escuchar su: versidn; Lea la infonnacidn a
             continuacidn.
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                Hay otros requisitos loge/es. Es recomendable que llama a un abogado inmediatamonto. Si no donoce a un abog‘ado, pue'de Ilarriar a tin servicio do
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             remisién a abogados. Si no puede pager a un abogado, 9s poslblé que cumpla con Ios requisites para oblénor seivicios loge/9s gratuitos de un
             programa de serviclos legaies sin ﬁnes de Iucro. Puedé encontrar estos grapes sin fines de lucro en el sitio web d9 Ca'lifomia Legal Services,
             (www. lawhelpcalifomia. org), an a! Centre do A yuda do Ias Cortes de California, (www sucorte. ca. gov) o poniéndose en oonl‘aoto' con la code 0 el
             colegio d9 abog'ados locales. AVISO: Por ley, Ia cone Vtiene dereoho a reclamar [as cuoias y Ios costos axenios por imponer un gravarnen sobre
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             cue/quier recuperacidn d9 $10, 000 d més d9 valor recibida medianlo un acuerVdo 0 Line concosidn do arbitraje en un caso do dereoho civil. Tiene que
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                                                                                                                                             do! Case):
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                                             Mateo Superior Court
            (El nombre y dirVeccién de la corte es): San
            400 County Center, Redwood City, CA 94063
                                                                                                                                                            I‘scjgo 541.: l.                                            ,




            The -,name address, and telephone number of plaintiffs attorney. or plaintiff without an attorney, is:
            (El nombre, Ia direccion y el numero de teléfono do! abogado do! demandante 0 del- demandente que no tiene abogado, es):
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            John T. Jasnoch, 600 W Broadway, Suite 3300, San Diego, CA 92101, 619-233-456

            liliiE-                      RODINAM. CATALANO                C'éik 5v
            (Feoha)            2013
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      :(For proof of service of this summons, use Proof of Service of Summons (form PCS-010)9’
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                                                            NoIIcE TO THE PERSON SERVED:

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                                                                           as an individual defendant.
                                                                                                             You are served

                                                                           as the person sued under the ﬁctitious name of (specify),i
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                                                                                                                                                                                       Summons Issued
                                                                                                                                                                                       1248641
                                                                                                                                                                                                          , Filed




                                                            3,      l:
                                                                    under.
                                                                           on behalf of (speciiy).'9
                                                                                 l:lV   CCP 416.10 (corporation)
                                                                                                                                                            ‘
                                                                                                                                                                                  l




                                                                                                                                                                 CCP 416.60 (minor)
                                                                                                                                                                                   K



                                                                           :1-          GOP 416 20 (defunct corporation)                       [        1
                                                                                                                                                                 GOP 416. 70 (conserVatee)
                                                                                        CCP 416. 40 (association or partnership)               El                CCP 416. 90 (authorized person)

                                                                            [:1        other (specrly)

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              Judicial Council of California                                                                                                                                                              margins; gov
             SUM-100 [Rev,_July 1l 2009]
                           Case 4:18-cv-04790-PJH Document 1-1 Filed 08/08/18 Page 35 of 35




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                 SHORT TITLE:
        _Grecnwald v. Ripple Labs, Inc.                                        Ct   31

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                                                                         INSTRUCTIONS FOR USE
        ‘       +   This form may be used as an attachment to any summons if space do‘es not permit the listing of all parties on the summons.
                +   If thls attachment rs used. insert the following statement In the plaintiff or defendant box on the summons: "Addrtronal Parties
                                                   "
                    Attachnient form rs attached.                                                         if 1. ‘ N
                                                                                                                           ‘




                 -
                ‘Llst additional parties (Check only one box.. Useiér separate



                CHRJ
                         Plaintiff

                      r, NALARSEN RON
                                                             lDéfendant

                                                                          m,
                                                                               E]
                                           ANTOINETTE oGORMAN; ERIC VAN MILTENBURG SUSAN
                                                                                            Cross-Complement
                                                                                                                               ge:
                                                                                                                                     for each type of party )i‘

                                                                                                                                           D Croseefendant
                ATilEY ZOE CRUZ; KEN KURSON, BEN LAWSKY ANJA MANUEL aﬁd' TAKASHI OKITA

            =
                Defendants:




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    F      WM“! ‘u                                   _                                                 x

                                                                          ADDITIONAL PA RTIES~ATTACHMENT
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        maﬁa”; cigjgggm“
sumowr) [Rem January 1. 2007]                                                               Attachment tymmpns
